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 8
                                                UNITED STATES DISTRICT COURT
 9
                                                       DISTRICT OF NEVADA
10

11    KELLY WOODBURN, THOMAS                                          Case Number
      WOODBURN, and JOSHUA                                            2:19-cv-01488-CDS-DJA
12    RODRIGUEZ; individually, and on behalf
      of all others similarly situated,
13                                                                         STIPULATION AND (PROPOSED)
                                              Plaintiff,                   ORDER TO EXTEND DISCOVERY
14    vs.                                                                          DEADLINES
15    CITY OF HENDERSON; DOES I through                                         (SEVENTH REQUEST)
      V, inclusive; and ROE CORPORATIONS I
16    through V, inclusive,
17                                            Defendants.
18

19             Plaintiffs Kelly Woodburn, Thomas Woodburn, and Joshua Rodriguez, together with
20   Defendant City of Henderson, hereby stipulate and agree to amend the Stipulated Amended
21   Discovery Plan and Scheduling Order, first entered July 27, 2022 (ECF No. 163), the amended order
22   entered on May 14, 2024 (ECF No. 204), and subsequently amended on November 21, 2024. The
23   parties seek to extend all current discovery deadlines for an additional one hundred twenty (120) days
24   from their current deadlines. The purpose of the proposed 120-day extension is to ensure that the
25   Parties have adequate time to perform discovery in light of the difficulty in obtaining complete
26   certifications regarding plaintiffs’ efforts to recover and produce responsive documents and
27   communications as directed by this Court’s May 9, 2023 order compelling the same and scheduling
28   the depositions of the named and opt-in Plaintiffs.
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 1             This is the parties’ seventh request for an extension to the Stipulated Amended Discovery
 2   Plan and Scheduling Order in this matter. The parties submit this stipulation to clarify the remaining
 3   discovery period ahead of the upcoming deadline to submit the initial expert reports, which is
 4   currently scheduled on March 12, 2025 (ECF No. 204).
 5                                            DISCOVERY COMPLETED TO DATE
 6             The following is the discovery completed to date:
 7             •    On November 12, 2020, Plaintiffs served their First Request for Production of Documents.
 8             •    On November 12, 2020, Plaintiffs served their Second Request for Production of
                    Documents.
 9
               •    On November 24, 2020, Defendant served its Initial Disclosures.
10
               •    On November 30, 2020, Defendant served its Interrogatories and First Set of Requests for
11                  Production to Thomas Woodburn. On the same say, Defendant also served its
                    Interrogatories and First Set of Requests for Production to Kelly Woodburn.
12
               •    On December 17, 2020, Plaintiffs served their Initial Disclosures.
13
               •    On January 11, 2021, Defendant served its Responses to Plaintiffs’ First and Second Sets
14                  of Requests for Production.
15             •    On January 21, 2021, Kelly Woodburn served her Responses to Defendant’s First Set of
                    Interrogatories and Requests for Production. On the same day, Thomas Woodburn served
16                  his Responses to Defendant’s First Set of Interrogatories and Requests for Production.
17             •    On January 21, 2021, Plaintiffs served their First Supplemental Disclosures.
18             •    On March 4. 2021, Plaintiffs served their Third Set of Requests for Production.
19             •    On April 12, 2021, Defendant served it Responses to Plaintiffs’ Third Set of Requests for
                    Production.
20
               •    On April 12, 2021, Plaintiffs served their Second Supplemental Disclosures.
21
               •    On May 2, 2022, Defendant served its First Supplemental Disclosures.
22
               •    On May 2, 2022, Defendant served its First Set of Interrogatories and Requests for
23                  Production to Joshua Rodriguez.
24             •    On May 19, 2022, Defendant served its First Set of Interrogatories and Requests for
                    Production on the following opt-in Plaintiffs:
25
                          o    Darius Brown
26                        o    Eliot Holman
                          o    Cornel Cook
27                        o    JoAnn Vollmann
                          o    Justyn Arciszewska
28                        o    Anthony Todd
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 1                        o    Ryan Korthauer
                          o    James Waylon Shaw
 2                        o    Jed Robbins
                          o    Robert Thomas
 3                        o    Brandon Harbin
                          o    Philip Grozenski
 4                        o    Ronald Peeler
                          o    Ann Waite
 5                        o    Richard Reyes
                          o    Braden Dong
 6                        o    Henry Robertson
 7             •    On May 20, 2022, Defendant served its First Set of Interrogatories and Requests for
                    Production on the following opt-in Plaintiffs:
 8
                          o    Octaviano Zamora Rios
 9                        o    William Worthington
                          o    Guadalupe Trejo
10                        o    Marc Smith
                          o    Brain Robinson
11                        o    Michael Renteria
                          o    Victoria Price
12                        o    James Petersen
                          o    Ana Nguyen
13                        o    Andrew Montano
                          o    Johnathan Mitchell
14                        o    Jack McDonald
                          o    Reuben Ladja
15                        o    Steven Kopacz
                          o    Arzo Klenosky
16                        o    Daniel Higa
                          o    David Harris
17                        o    Collette Harman
                          o    Evan Green
18                        o    Kamuela Aiu
                          o    Erich Ammon
19                        o    Brandon Bair
                          o    Trevor Burns
20                        o    Juan Chavez
                          o    Benjamin Comeau
21                        o    Michael DiGregorio
                          o    Brandyn Dombrowski
22                        o    Tammy Dombrowski
                          o    Christina Dorsey
23                        o    Lewis Edmonson
                          o    Johnnie Graves
24                        o    David Bishop
                          o    Raul Acevedo-Saldivar
25
               •    On May 25, 2022, Defendant served its First Set of Interrogatories and Requests for
26                  Production on the following opt-in Plaintiffs:
27                        o Samantha Mosqueda
                          o Michael Olive
28                        o Andrew Johnson
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 1                        o    Gabriel Arias
                          o    Joshua Woodside
 2                        o    Edward Weathers
                          o    Jessica Veit
 3                        o    Erika Tagen
                          o    Arturo Sanchez
 4                        o    Alex Rozum
                          o    Michael Ramseyer
 5                        o    Michael Page
                          o    Victor Milligan
 6                        o    Jose Martinez-Lopez
                          o    Ashley Mangan
 7                        o    Pita Luli
                          o    Charlynn Foranro
 8                        o    Joshua Epperson
                          o    Arbresha Dema
 9                        o    Carlos Deloera
                          o    Jennifer Chavys
10                        o    Colin Brown
11             •    On May 31, 2022, Defendant served its Second Supplemental Disclosures.
12             •    On June 1, 2022, Joshua Rodriguez served his Responses to Defendant’s First Set of
                    Interrogatories and Requests for Production.
13
               •    On June 6, 2022, Defendant served its Third Supplemental Disclosures.
14
               •    On June 17, 2022, Plaintiffs served their Third Supplemental Disclosures.
15
               •    On October 7, 2022, Plaintiff Kelly Woodburn served her First Supplemental Responses
16                  to Defendant’s First Set of Interrogatories and Requests for Production to Kelly
                    Woodburn.
17
               •    On October 10, 2022, Plaintiffs took the deposition of Pam Lauer.
18
               •    On October 11, 2022, Plaintiffs took the deposition of Damon Smith.
19
               •    On October 11, 2022, Plaintiffs served their First Set of Interrogatories and Fourth Set of
20                  Requests for Production.
21             •    On October 11, 2022, Plaintiffs served their Fourth Supplemental Disclosures.
22             •    On November 3, 2022, Plaintiffs served their Fifth Supplemental Disclosures.
23             •    On November 7, 2022, Plaintiffs took the deposition of David Burns.
24             •    On November 16, 2022, Plaintiff Kelly Woodburn served her Second Supplemental
                    Responses to Defendant’s First Set of Interrogatories to Kelly Woodburn.
25
               •    On November 28, 2022, opt-in Plaintiffs Johnnie Graves, Henry Robertson, and Victoria
26                  Price served their Responses to Defendant’s First Set of Request for Production.
27             •    On November 28, 2022, opt-in Plaintiff Johnnie Graves served his Response to
                    Defendant’s First Set of Interrogatories.
28
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 1             •    On December 2, 2022, opt-in Plaintiff Victoria Price served her Response to Defendant’s
                    First Set of Interrogatories.
 2
               •    On December 8, 2022, Defendant served its Responses to Plaintiffs’ First Set of
 3                  Interrogatories and Fourth Set of Requests for Production.
 4             •    On December 8, 2022, Defendant served its Fourth Supplemental Disclosures.
 5             •    On December 23, 2022, Plaintiff Joshua Rodriguez served his first supplemental
                    discovery responses.
 6

 7             •    On January 18, 2023, Plaintiff Marc Smith served his discovery responses.

 8             •    On January 23, 2023, Plaintiff Evan Green served his discovery responses.
 9             •    On January 23, 2023, Plaintiff Trevor Burns served his discovery responses.
10
               •    On January 25, 2023, Plaintiff Brandyn Dombrowski served his discovery responses.
11
               •    On January 27, 2023, Plaintiff Jed Robbins served his discovery responses.
12
               •    On January 27, 2023, Plaintiff Jack McDonald served his discovery responses.
13

14             •    On January 31, 2023, Plaintiff Henry Robertson served his responses to Interrogatories.

15             •    On February 1, 2023, Plaintiff Erich Ammon served his discovery responses.

16             •    On February 2, 2023, Plaintiff Braden Dong served his discovery responses.
17
               •    On March 1, 2023, Plaintiff Guadalupe Trejo served her discovery responses.
18
               •    On March 13, 2023, Defendant served its Fifth Supplemental Disclosures.
19
               •    On March 22, 2023, Plaintiff Ronald Peeler served his discovery responses.
20

21             •    On April 5, 2023, Plaintiff James Waylon Shaw served his discovery responses.

22             •    On April 5, 2023, Plaintiff Juan Chavez served his discovery responses.

23             •    On April 10, 2023, Plaintiff Joshua Woodside served his discovery responses.
24             •    On April 17, 2023, Plaintiff Raul Acevedo-Saldivar served his discovery responses. On
25                  April 18, 2023, he served amended responses to his interrogatory responses.

26             •    On April 17, 2023, Plaintiff Philip Grozenski served his discovery responses.
27             •    On April 18, 2023, Plaintiff Samantha Mosqueda served her discovery responses.
28
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 1             •    On April 24, 2023, Plaintiff Lewis Edmondson served his discovery responses.
 2
               •    On April 28, 2023, Plaintiff Robert Thomas served his discovery responses.
 3
               •    On May 3, 2023, Plaintiff Gabriel Arias served his discovery responses.
 4
               •    On May 3, 2023, Plaintiff Edward Weathers served his discovery responses.
 5
               •    On June 6, 2023, Plaintiffs served their Sixth Supplemental FRCP 26 disclosures.
 6

 7             •    On June 8, 2023, Plaintiffs served their Seventh Supplemental FRCP 26 disclosures.

 8             •    On June 28, 2023, opt-in Plaintiffs Ammon, Chavez, Graves, Robertson, Trejo, and
                    Woodside served supplemental responses to Defendant’s first interrogatories and requests
 9
                    for production.
10
               •    On July 11, 2023, opt-in Plaintiffs Acevedo-Saldivar, Dong, and Shaw served
11                  supplemental responses to Defendant’s first interrogatories and requests for production.
12
               •    On July 13, 2023, opt-in Plaintiff Jack McDonald served supplemental responses to
13                  Defendant’s first interrogatories and requests for production.

14             •    On July 18, 2023, opt-in Plaintiff Marc Smith served supplemental responses to
                    Defendant’s first interrogatories and requests for production.
15

16             •    On July 19, 2023, opt-in Plaintiffs Lewie Edmondson and Philip Grozenski served
                    supplemental responses to Defendant’s first interrogatories and requests for production.
17
               •    On July 26, 2023, opt-in Plaintiff Robbins served supplemental responses to Defendant’s
18
                    first interrogatories and requests for production.
19
               •    Only July 27, 2023, opt-in Plaintiff Burns served supplemental responses to Defendant’s
20                  first interrogatories and requests for production.
21             •    On August 4, 2023, opt-in Plaintiff Abresha Dema served first responses to interrogatories
22                  and requests for production.

23             •    On August 7, 2023, opt-in Plaintiffs Evan Green and Robert Thomas served supplemental
                    responses to Defendant’s first interrogatories and requests for production.
24

25             •    On August 11, 2023, opt-in Plaintiffs Victoria Price and Brandyn Dombroski served
                    supplemental responses Defendant’s first interrogatories and requests for production.
26
               •    On August 11, 2023, opt-in Plaintiff Steven Kopacz served first responses to
27                  interrogatories and requests for production.
28
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 1             •    On August 14, 2023, opt-in Plaintiff Brandon Harbin served first responses to
                    interrogatories and requests for production.
 2

 3             •    On November 13, 2023, Plaintiffs’ former counsel, Claggett & Sykes withdrew (ECF No.
                    197).
 4
               •    On December 11, 2023, Plaintiffs’ current counsel, Sgro & Roger, entered its appearance
 5
                    (ECF No. 198).
 6
               •    On February 26, 2024, Named Plaintiff Joshua Rodriguez served his third supplemental
 7                  responses to Defendant’s first set of interrogatories and supplemental responses to
                    Defendant’s first set of requests for production.
 8

 9             •    On February 26, 2024, Named Plaintiff Kelly Woodburn served her fourth supplemental
                    responses to Defendant’s first set of interrogatories and second supplemental responses to
10                  Defendant’s first set of requests for production.
11             •    On February 26, 2024, Named Plaintiff Thomas Woodburn served his fourth supplemental
12                  responses to Defendant’s first set of interrogatories and second supplemental responses to
                    Defendant’s first set of requests for production.
13
               •    On February 26, 2024, opt-in Plaintiff Evan Green served his second supplemental
14
                    responses to Defendant’s first set of interrogatories and second supplemental responses to
15                  Defendant’s first set of requests for production.

16             •    On February 26, 2024, opt-in Plaintiff Lewis Edmondson served his second supplemental
                    responses to Defendant’s first set of interrogatories and second supplemental responses to
17
                    Defendant’s first set of requests for production.
18
               •    On February 26, 2024, opt-in Plaintiff Henry Robertson served his second supplemental
19                  responses to Defendant’s first set of interrogatories and second supplemental responses to
                    Defendant’s first set of requests for production.
20

21             •    On February 26, 2024, opt-in Plaintiff Brandon Harbin served his first supplemental
                    responses to Defendant’s first set of interrogatories and supplemental responses to
22                  Defendant’s first set of requests for production.
23             •    On February 26, 2024, opt-in Plaintiff Raul Acevedo-Saldivar served his second
24                  supplemental responses to Defendant’s first set of interrogatories and second
                    supplemental responses to Defendant’s first set of requests for production.
25
               •    On February 26, 2024, opt-in Plaintiff Trevor Burns served his second supplemental
26                  responses to Defendant’s first set of interrogatories and second supplemental responses to
27                  Defendant’s first set of requests for production.

28
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 1             •    On February 26, 2024, opt-in Plaintiff Juan Chavez served his second supplemental
                    responses to Defendant’s first set of interrogatories and second supplemental responses to
 2
                    Defendant’s first set of requests for production.
 3
               •    On February 26, 2024, opt-in Plaintiff Brandyn Dombrowski served his second
 4                  supplemental responses to Defendant’s first set of interrogatories and second
                    supplemental responses to Defendant’s first set of requests for production.
 5

 6             •    On February 26, 2024, opt-in Plaintiff Guadalupe Trejo served her second supplemental
                    responses to Defendant’s first set of interrogatories and second supplemental responses to
 7                  Defendant’s first set of requests for production.
 8
               •    On February 26, 2024, opt-in Plaintiff Jack McDonald served his second supplemental
 9                  responses to Defendant’s first set of interrogatories and second supplemental responses to
                    Defendant’s first set of requests for production.
10
               •    On February 26, 2024, opt-in Plaintiff Victoria Price/Guzel served her second
11
                    supplemental responses to Defendant’s first set of interrogatories and second
12                  supplemental responses to Defendant’s first set of requests for production.

13             •    On February 26, 2024, opt-in Plaintiff James Waylon Shaw served his second
                    supplemental responses to Defendant’s first set of interrogatories and second
14
                    supplemental responses to Defendant’s first set of requests for production.
15
               •    On February 26, 2024, opt-in Plaintiff Braden Dong served his second supplemental
16                  responses to Defendant’s first set of interrogatories and second supplemental responses to
                    Defendant’s first set of requests for production.
17

18             •    On February 26, 2024, opt-in Plaintiff Johnnie Graves served second supplemental
                    responses to Defendant’s first set of interrogatories and second supplemental responses to
19                  Defendant’s first set of requests for production.
20
               •    On February 26, 2024, opt-in Plaintiff Steven Kopacz served his first supplemental
21                  responses to Defendant’s first set of interrogatories and first supplemental responses to
                    Defendant’s first set of requests for production.
22
               •    On February 26, 2024, opt-in Plaintiff Marc Smith served his second supplemental
23
                    responses to Defendant’s first set of interrogatories and second supplemental responses to
24                  Defendant’s first set of requests for production.

25             •    On February 26, 2024, opt-in Plaintiff Robert Thomas served his second supplemental
                    responses to Defendant’s first set of interrogatories and second supplemental responses to
26
                    Defendant’s first set of requests for production.
27
               •    On February 26, 2024, Plaintiffs served their Eighth Supplemental Disclosures under Rule
28                  26.
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 1
               •    On February 27, 2024, opt-in Plaintiff Jed Robbins served his second supplemental
 2                  responses to Defendant’s first set of interrogatories and second supplemental responses to
 3                  Defendant’s first set of requests for production.

 4             •    On March 1, 2024, opt-in Plaintiff Braden Dong served his revised second supplemental
                    responses to Defendant’s first set of interrogatories.
 5

 6             •    On March 6, 2024, opt-in Plaintiff Victoria Price/Guzel served her revised second
                    supplemental responses to Defendant’s first set of requests for production.
 7
               •    On March 6, 2024, opt-in Plaintiff Henry Robertson served his revised second
 8                  supplemental responses to Defendant’s first set of requests for production.
 9
               •    On March 8, 2024, opt-in Plaintiff Jed Robbins served his revised second supplemental
10                  responses to Defendant’s first set of requests for production.

11             •    On March 8, 2024, opt-in Plaintiff Jack Mcdonald served his revised second supplemental
                    responses to Defendant’s first set of requests for production.
12

13             •    On March 8, 2024, opt-in Plaintiff Lewis Edmondson served his Revised Second
                    Supplemental Responses to Defendant’s First Set of Interrogatories.
14

15             •    On March 8, 2024, opt-in Plaintiff James Waylon Shaw served his Revised Second
                    Supplemental Responses to Defendant’s First Set of Interrogatories.
16
               •    On March 18, 2024, opt-in Plaintiff Joshua Woodside served his second supplemental
17
                    responses to Defendant’s first set of Requests for Production.
18
               •    On March 21, 2024, opt-in Plaintiff Joshua Woodside served his second supplemental
19                  responses to Defendant’s first set of requests for production.
20             •    On March 21, 2024, Plaintiffs served their Ninth Supplemental Disclosure under Rule 26.
21
               •    On March 22, 2024, opt-in Plaintiff Marc Smith served his Revised Second Supplemental
22                  Responses to Defendant’s First Set of Interrogatories.
23             •    On March 22, 2024, Plaintiff Thomas Woodburn served his revised second supplemental
24                  responses to Defendant’s First Set of Interrogatories.

25             •    On March 22, 2024, Plaintiff Kelly Woodburn served her revised second supplemental
                    responses to Defendant’s first set of interrogatories.
26
               •    On March 22, 2024, Plaintiff Joshua Rodriguez served his revised third supplemental
27
                    responses to Defendant’s first set of interrogatories.
28
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 1             •    On March 22, 2024, opt-in Plaintiff Brandyn Dombrowski served his Revised Second
                    Supplemental Responses to Defendant’s First Set of Interrogatories.
 2

 3             •    On March 28, 2024, opt-in Plaintiff Philip Grozenski served his second supplemental
                    responses to Defendant’s first set of requests for production of documents.
 4
               •    On April 16, 2024, Defendant served its First Supplemental Responses to Plaintiffs’ First
 5
                    Set of Requests for Production of Documents.
 6
               •    On April 16, 2024, Defendant served its Sixth Supplemental Disclosures.
 7
               •    On June 17, 2024, opt-in Plaintiff Ronald Peeler served his Supplemental Responses to
 8                  Defendant’s First Set of Requests for Production of Documents to Ronald Peeler
 9
               •    On July 22, 2024, opt-in Plaintiff Philip Grozenski served his Second Supplemental
10                  Responses to Defendant’s First Set of Interrogatories to Philip Grozenski.

11             •    On October 15, 2024, Defendant served its Diligent Search Certifications to be completed
12                  by the named and Opt-In Plaintiffs.

13             •    On October 15, 2024, Defendant served its First Set of Interrogatories and First Set of
                    Request for Production of Documents on the alternate Opt-In Plaintiffs Benjamin
14                  Comeau, Cornel Cook, Carlos Deloera, Alex Rozum, and Collette Harman.
15
               •    On November 13, 2024, opt-in Plaintiffs Graves, Robbins, Robertson, and Trejo served
16                  Diligent Search Certifications.

17             •    On January 23, 2025, Plaintiffs’ Counsel served a Dropbox link containing the Diligent
                    Search Certification of Raul Acevedo-Saldivar, Erich Ammon, Trevor Burns, Brandyn
18
                    Dombrowski, Braden Dong, Johnnie Graves, Evan Green, Brandon Harbin, Steve
19                  Kopacz, Jack McDonald, Ronald Peeler, Victoria Guzel-Price, Jed Robbins, Henry
                    Robertson, Joshua Rodriguez, James Shaw, Robert Thomas, Guadalupe Trejo, Kelly
20                  Woodburn, Thomas Woodburn, and Joshua Woodside.
21
               •    On January 24, 2025, opt-in Plaintiff Benjamin Comeau served his Responses to
22                  Defendant’s First Set of Interrogatories to Benjamin Comeau.

23             •    On January 24, 2025, Plaintiffs’ Counsel served the Diligent Search Certification of
24                  Benjamin Comeau.

25             •    On January 26, 2025, opt-in Plaintiff Benjamin Comeau served his Responses to
                    Defendant’s First Set of Requests for Production of Documents to Benjamin Comeau.
26
               •    On January 26, 2025, opt-in Plaintiff Cornel Cook served his Responses to Defendant’s
27
                    First Set of Requests for Production of Documents to Cornel Cook.
28
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 1             •    On January 26, 2025, opt-in Plaintiff Cornel Cook served his Responses to Defendant’s
                    First Set of Interrogatories to Cornel Cook.
 2

 3             •    On January 27, 2025, Plaintiffs’ Counsel served the Diligent Search Certification of
                    Cornel Cook.
 4
               •    On January 27, 2025, opt-in Plaintiff Alex Rozum served the First Set of Requests for
 5
                    Production of Documents to Alex Rozum.
 6
               •    On January 27, 2025, opt-in Plaintiff Alex Rozum served his Responses to Defendant’s
 7                  First Set of Interrogatories to Alex Rozum.
 8             •    On January 28, 2025, opt-in Plaintiff Carlos Deloera served his Responses to Defendant’s
 9                  First Set of Interrogatories to Carlos Deloera.

10             •    On January 28, 2025, opt-in Plaintiff Carlos Deloera served his Responses to Defendant’s
                    First Set of Requests for Production of Documents to Carlos Deloera.
11

12             •    On January 30, 2025, Plaintiffs’ Counsel served the Diligent Search Certification of Philip
                    Grozenski.
13
               •    On February 4, 2025, opt-in Plaintiff Collette Harman served her Responses to
14                  Defendant’s First Set of Requests for Production of Documents to Collette Harman.
15
               •    On February 4, 2025, opt-in Plaintiff Collette Harman served her Responses to
16                  Defendant’s First Set of Interrogatories to Collette Harman.

17             •    On February 6, 2025, Plaintiffs’ Counsel served the Diligent Search Certification of
                    Collette Harman.
18

19             •    On February 10, 2025, Plaintiffs’ Counsel served the Diligent Search Certification of
                    Marc Smith, which will be further supplemented.
20

21                               DISCOVERY THAT REMAINS TO BE COMPLETED

22             Discovery is ongoing in this matter. Defendant served all opt-in Plaintiffs with its First Sets

23    of Interrogatories and Requests for Production. The parties then agreed to a sampling size for Phase

24    I discovery of the opt-in Plaintiffs, specifically that Plaintiffs would prepare discovery responses for

25    the three (3) named Plaintiffs and a sampling size of 27 of the opt-in Plaintiffs. Plaintiffs have also

26    agreed to make available the 27 opt-in Plaintiffs for depositions.

27             Defendant plans (and the parties have agreed) to depose the three (3) named Plaintiffs, along

28    with the 27 opt-in Plaintiffs. However, Plaintiffs have notified Defendant’s counsel of unresponsive
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 1       opt-in plaintiffs. Given the unresponsive opt-in Plaintiffs, Defendant has requested that Plaintiffs
 2       provide written discovery responses for the following alternate opt-in Plaintiffs as contemplated in
 3       the parties’ original agreement to use a sampling of the total class for discovery purposes: Benjamin
 4       Comeau, Cornel Cook, Carlos Deloera, Alex Rozum, and Collette Harman.1 Defendant intends to
 5       take the depositions of the named Plaintiffs and the 27 opt-in Plaintiffs once it is satisfied that it has
 6       received sufficient discovery responses from each of the named Plaintiffs and the 27 opt-in Plaintiffs,
 7       which includes Diligent Search Certifications from the named and Opt-In Plaintiffs. Plaintiffs have
 8       also planned to take the deposition of Defendant’s Rule 30(b)(6) witness. Lastly, the parties
 9       anticipate—and the Plaintiffs’ supplemental productions have confirmed—that expert witnesses will
10       be necessary.
11                         REASONS FOR EXTENSION TO COMPLETE DISCOVERY
12             This extension is necessary to allow both parties ample time to complete all appropriate
13   discovery. The requested extension is sought in good faith and not for purposes of undue delay and
14   is supported by good cause.
15             Since the Order granting the Stipulated Amended Discovery Plan and Scheduling Order (ECF
16   No. 163) was entered by this Court on July 27, 2022, the parties have engaged in a series of written
17   discovery, document production, and depositions of former supervisory personnel of Defendant, as
18   summarized above.
19             Throughout the course of this litigation, the parties have encountered disagreements
20   concerning the sufficiency of both the Plaintiffs’ and the Defendant’s written discovery responses,
21   which have been documented in meet-and-confer letters, moving papers, and in a court order.
22   Plaintiffs’ former counsel formally withdrew from representation of the Plaintiffs on November 8,
23   2023 [ECF 197] and Plaintiffs retained new counsel who formally appeared in the case on December
24   11, 2023 [ECF 198].
25             Further, during an April 11, 2024, Court-ordered meet and confer, Plaintiffs disclosed that
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       These five alternative opt-in Plaintiffs replace opt-in Plaintiffs Abresha Dema, Gabriel Arias,
     Octaviano Zamora-Rios, Edward Weathers, and Andrew Montano whom the Court dismissed without
28   prejudice on January 15, 2025 (ECF No. 211).
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 1   they intend to serve additional written discovery on Defendant.
 2             Given the above, the parties require more time to properly complete discovery on all
 3   individual claims and pre-certification issues, which includes (i) opt-in Plaintiffs serving additional
 4   supplemental responses to Defendant’s written discovery, as appropriate, (pursuant to the parties’
 5   agreement on a sampling size of 27), (ii) Defendant taking the depositions of the named Plaintiffs,
 6   (iii) Defendant taking the depositions of the 27 opt-in Plaintiffs; (iv) Plaintiffs taking the deposition
 7   of Defendant’s Rule 30(b)(6) witness; and (v) preparation of expert witness disclosures and rebuttal
 8   disclosures.
 9                                       PROPOSED REVISED DISCOVERY PLAN
10                        1.        Discovery Cut-Off Deadline
11                        a.        Phase I of Discovery (Named Plaintiffs’ Claims and Class Certification):
12             The Phase I Discovery cut-off deadline shall be extended from May 11, 2025 to September
13   8, 2025.
14                        b.        Phase II of Discovery (Damages and Liability):
15             The Parties propose that they submit a Proposed Stipulated Discovery Plan for Class-wide
16   Phase II Discovery twenty-one (21) days following the Court’s ruling on any class
17   certification/decertification or summary judgment motions after Phase I of Discovery is completed in
18   order to set deadlines and dates for Phase II.
19                        2.        Fed. R. Civ. P. 26(a)(2) Disclosures (Experts) Deadline:
20             The parties agree to and propose a deadline to disclose experts for Phase I sixty (60) days
21   prior to the close of Phase I Discovery: July 10, 2025 (60 days prior to the proposed close of Phase I
22   Discovery). The parties further propose a deadline to disclose any rebuttal experts thirty (30) days
23   after the initial disclosure of experts: August 11, 2025.
24                        3.        Class Certification, Collective Decertification and Dispositive Motions:
25             To the extent that Plaintiffs continue as a collective, the Parties agree to and propose a
26   deadline to file collective certification, collective decertification, and dispositive motions thirty (30)
27   days after the close of Phase I Discovery: October 8, 2025. Defendant also reserves the right to
28   oppose Plaintiffs’ anticipated motion for final certification of the FLSA collective for trial.
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 1                        4.        Pretrial Order:
 2             The Parties agree to and propose that the date for filing a Joint Pretrial Order shall be no later
 3   than thirty (30) days after the date set for filing any dispositive motions after Phase II of Discovery.
 4   The Parties will include this proposed date in their Proposed Stipulated Discovery Plan for Phase II.
 5             In the event dispositive motions are filed after Phase II, Plaintiffs propose that the date for
 6   filing a Joint Pretrial Order shall be suspended until thirty (30) days after decision of the dispositive
 7   motions or further order of the Court.
 8                        5.        Fed. R. Civ. P. 26(a)(3) Disclosures:
 9             The Parties agree to and propose that Fed. R. Civ. P. 26(a)(3) disclosures shall be included by
10   the Parties in their Joint Pretrial Order.
11                        6.        Extensions or Modifications of the Discovery Plan and Scheduling Order:
12             In accordance with Local Rule 26-3, a stipulation or motion for modification or extension of
13   any deadline stated in this Discovery Plan and Scheduling Order must be made no later than 21 days
14   before the expiration of the subject deadline.
15   Dated: February 19, 2025                                Dated: February 19, 2025
16
     SGRO & ROGER                                            LITTLER MENDELSON, P.C.
17
     By: /s/ Alanna Bondy                                    By: /s/ Andrew S. Clark
18       ANTHONY SGRO, ESQ.                                    MONTGOMERY Y. PAEK, ESQ.
         ALANNA BONDY, ESQ.                                    ETHAN D. THOMAS, ESQ.
19       KATHLEEN L. FELLOWS, ESQ.
                                                                ANDREW S. CLARK, ESQ.
20
           Attorneys for Plaintiffs                             Attorneys for Defendant
21         KELLY WOODBURN, THOMAS                                CITY OF HENDERSON
           WOODBURN, AND JOSHUA
22         RODRIGUEZ
23

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 1                                               ORDER
       IT IS SO ORDERED that the parties' stipulation to extend discovery deadlines (ECF No.
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       213) is GRANTED.                                 IT IS SO ORDERED.
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 5                                                         UNITED STATES MAGISTRATE JUDGE
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                                                           DATED: 2/20/2025
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